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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Kathleen Grant,                                NO. CV-15-02665-PHX-ROS
10                  Plaintiff,
                                                   JUDGMENT OF DISMISSAL IN A
11   v.
                                                   CIVIL CASE
12   Life Insurance Company of North America,
     et al.,
13
                    Defendants.
14
15            Decision by Court. This action came for consideration before the Court. The
16   issues have been considered and a decision has been rendered.
17            IT IS ORDERED AND ADJUDGED that, pursuant to the Court’s Order filed
18   May 5, 2016, judgment of dismissal is entered. Plaintiff to take nothing, and the
19   complaint and action are dismissed without prejudice.
20                                           Brian D. Karth
                                             District Court Executive/Clerk of Court
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22   May 16, 2016
                                             s/ Leann Dixon
23                                      By   Deputy Clerk
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